     Case 2:12-cr-00124-MCE Document 17 Filed 05/18/12 Page 1 of 3


 1 ZENIA K. GILG, SBN 171922
   809 Montgomery Street, 2nd Floor
 2 San Francisco CA 94133
   Telephone: 415/394-3800
 3 Facsimile: 415/394-3806

 4 Attorney for Defendant
   KENI RENTA
 5
   DANNY B. SCHULTZ, SBN 196232
 6 809 Montgomery Street, 2nd Floor
   San Francisco CA 94133
 7 Telephone: 415/394-3800
   Facsimile: 415/394-3806
 8
   Attorney for Defendant
 9 JAUWON WILDER

10

11
                         UNITED STATES DISTRICT COURT
12
                        EASTERN DISTRICT OF CALIFORNIA
13

14
     UNITED STATES OF AMERICA,               No. 2:12-CR-00124
15
                Plaintiff,
16                                           STIPULATION AND ORDER TO
                                             RESCHEDULE THE
17        v.                                 STATUS CONFERENCE

18
   KENI RENTA,
19 JAUWON WILDER,

20              Defendants.

21                               /

22
          THE PARTIES HEREBY STIPULATE AND AGREE that the status
23
     conference presently set for May 17, 2012, shall be continued to
24
     May 24, 2012.
25
          It is further stipulated and agreed between the parties
26
     that time be excluded until the requested hearing date on May
27
     24, 2012, under local code T4, preparation of counsel.
28

                                         1
     Case 2:12-cr-00124-MCE Document 17 Filed 05/18/12 Page 2 of 3


 1 A plea agreement has recently been provided by the government

 2 which is presently under consideration; however, counsel for

 3 defendants would like additional time to review the provisions

 4 of the plea agreement with their respective clients, including

 5 reviewing the factual basis against the discovery to ensure the

 6 pleas are the best interests of the defendants and consistent

 7 with the discovery provided by the government.           The parties

 8 expect that any resulting issues or concerns can be resolved

 9 before May 24, 2012 and therefore expect that that date may be a

10 change of plea hearing rather than status conference.             The

11 parties will advise the Court of such a development in advance

12 of May 24, 2012.

13

14

15 Respectfully Submitted,

16

17 /S/JEAN HOBLER                      /S/ZENIA K. GILG
   JEAN HOBLER                         ZENIA K. GILG
18 Assistant U.S. Attorney             Attorney for Defendant
                                       KENI RENTA
19 Dated: May 11, 2012                 Dated: May 11, 2012

20

21
   /S/DANNY B. SCHULTZ
22 DANNY B. SCHULTZ
   Attorney for Defendant
23 JAUWON WILDER
   Dated: May 11, 2012
24

25 ///

26 ///

27 ///

28 ///

                                         2
     Case 2:12-cr-00124-MCE Document 17 Filed 05/18/12 Page 3 of 3


 1                                     ORDER

 2
          Based on the parties' representations, the Court finds that
 3
     the ends of justice served by the requested continuance outweigh
 4
     the interests of the defendants and the public in a speedy
 5
     trial.   The status conference in this matter is accordingly
 6
     continued to May 25, 2012 at 9:00 a.m.        Time between May 17,
 7
     2012 and May 24, 2012 shall be excluded pursuant to 18 U.S.C.
 8
     section 3161(h)(7)(A) and (B)(iv) and Local Code T4.
 9
          IT IS SO ORDERED.
10

11
     Dated: May 18, 2012
12

13                                     _____________________________
                                       MORRISON C. ENGLAND, JR.
14                                     UNITED STATES DISTRICT JUDGE
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         3
